Case 3:18-bk-32107       Doc 14   Filed 08/13/18 Entered 08/13/18 10:51:52          Desc Main
                                  Document     Page 1 of 4


18-1611




                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION - DAYTON

In The Matter Of                                  Chapter 7

       Rachel L. Bates                            Case No. 18-32107

                                                  Judge: GUY R. HUMPHREY
       Debtor
                                                  MOTION FOR RELIEF FROM STAY/
                                                  2406 BEATRICE STREET,
                                                  SPRINGFIELD, OH 45503


       Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper (hereinafter, "Movant”)
hereby moves this Court pursuant to 11 U.S.C. 362(d) and Rules 4001, 9013, and 9014 of the Rules
of Bankruptcy Procedure & Local Bankruptcy Rules 4001-1, 9013-1 and 9013-3 for an Order
modifying the automatic stay provided under 11 U.S.C. 362(a) in order to permit Movant to
commence a foreclosure action in State Court against debtor and/or to otherwise enforce its lien
rights against the property. The grounds upon which this Motion is made are set forth in the
Memorandum in Support attached hereto.

                                                 Respectfully submitted,

                                                 /s/ Christopher P. Kennedy
                                                 Carlisle, McNellie, Rini, Kramer & Ulrich
                                                 Co., L.P.A.
                                                 By: Phyllis A. Ulrich (0055291)
                                                      Christopher P. Kennedy (0074648)
                                                 24755 Chagrin Blvd.,
                                                 Cleveland, OH 44122-5690
                                                 216-360-7200 Phone
                                                 (216) 360-7212 Facsimile
                                                 bankruptcy@carlisle-law.com
                                                 Attorneys for Movant:
                                                 Nationstar Mortgage LLC d/b/a Mr. Cooper
Case 3:18-bk-32107        Doc 14    Filed 08/13/18 Entered 08/13/18 10:51:52            Desc Main
                                    Document     Page 2 of 4


                         MEMORANDUM IN SUPPORT OF MOTION

       In Support of this Motion for Relief from Stay, Movant hereby represents as follows:

       1. This Motion is a request for modification of the stay of proceedings against certain
property of the Debtor, Rachel L. Bates, (the "Debtor"), pursuant to Section 362(d) of the United
States Bankruptcy Code.
       2. On July 6, 2018, the Debtor filed a petition seeking relief under Chapter 7 of the
Bankruptcy Code.
       3. Prior to this bankruptcy, on October 23, 2015, Rachel L. Bates executed and delivered to
Nationstar Mortgage LLC dba Greenlight Loans, its successors and assigns, a promissory note (the
"Note"), a copy of which is attached hereto, marked Exhibit "A". The Note was transferred to
Movant as evidenced by the blank endorsement on the Note.
       4. As security for the payment of the Note, Rachel L. Bates and Stephen Taylor Bates
executed and delivered to Mortgage Electronic Registration Systems, Inc., as nominee for
Nationstar Mortgage LLC dba Greenlight Loans, its successors and assigns, a mortgage deed for
the real property at 2406 Beatrice Street, Springfield, OH 45503 (the “Property”). The complete
legal description of the Property is contained in the mortgage, a copy of which is attached hereto as
Exhibit "B". The mortgage was delivered to the Recorder of Clark County on November 20, 2015
at 3:54 p.m. and was recorded in Instrument No. 201500015534, of the mortgage records of said
county and thereby became a good and valid first lien upon the Property. The mortgage was
assigned to Movant as evidenced by the assignment of mortgage attached hereto as Exhibit “C” and
made a part hereof.
       5. Movant attaches hereto a true and accurate copy of the recorded title deed required by
Local Rule as Exhibit “D”. Attached are redacted copies of any documents that support the claim,
such as promissory notes, purchase order, invoices, itemized statements of running accounts,
contracts, judgments, mortgages, and security agreements in support of right to seek a lift of the
automatic stay, foreclose, approve short sale or execute a Deed in Lieu if necessary.
       6. At the time of the Debtor's filing of the Chapter 7 petition, the Debtor owed Movant the
sum of $83,047.52, plus interest at the rate of 4.50% from March 1, 2018, plus late charges as
provided for in the mortgage deed described below, plus advances made by Movant for the
payment of taxes, assessments, insurance premiums and other costs incurred for the protection of
Property securing the Note. The Property is valued at $57,680.00 according to the Clark County
Auditor.   Debtor’s loan account is contractually due for the April 1, 2018 payment and all
Case 3:18-bk-32107         Doc 14    Filed 08/13/18 Entered 08/13/18 10:51:52             Desc Main
                                     Document     Page 3 of 4


subsequent payments, late charges and all charges assessable to the loan account of the Debtor. The
first payment default for this loan was April 1, 2018. Stephen Taylor Bates may also have in interest
in the property.
       7. Movant is desirous of commencing an action in state court in foreclosure to enforce its
rights under the "cause" provision of Section 362(d)(1) of the Bankruptcy Code because Movant
does not have adequate protection of its interest in the Property.
       8. For the reasons stated herein, Movant respectfully requests that this Court order that the
automatic stay of proceedings under Section 362(a) of the Bankruptcy Code be modified to permit
it to commence a foreclosure action in state court and/or to otherwise enforce its lien rights against
the Property.
       9. Movant further requests that this Court provide an opportunity for hearing upon this
Motion in accordance with law.
       10.      Movant further requests that notwithstanding the provisions of 4001(a)(3) of the
Federal Rules of Bankruptcy Procedure, that the relief from stay not be stayed for 14 days, but shall
become effective immediately.
       11. This request for relief from the automatic stay by Movant does not seek to affect the
right of the Chapter 7 Trustee with relation to the estate’s interest in the Property securing the debt
owed to Movant.
       12. Movant attaches hereto the worksheet required by Local Rule as Exhibit “E”.


Date: August 13, 2018



                                                     Respectfully submitted,

                                                     /s/ Christopher P. Kennedy
                                                     Carlisle, McNellie, Rini, Kramer & Ulrich
                                                     Co., L.P.A.
                                                     By: Phyllis A. Ulrich (0055291)
                                                          Christopher P. Kennedy (0074648)
                                                     24755 Chagrin Blvd.,
                                                     Cleveland, OH 44122-5690
                                                     216-360-7200 Phone
                                                     (216) 360-7212 Facsimile
                                                     bankruptcy@carlisle-law.com
                                                     Attorneys for Movant:
                                                     Nationstar Mortgage LLC d/b/a Mr. Cooper
Case 3:18-bk-32107       Doc 14    Filed 08/13/18 Entered 08/13/18 10:51:52           Desc Main
                                   Document     Page 4 of 4


                                CERTIFICATE OF SERVICE


I hereby certify that the foregoing Motion for Relief was served (I) electronically on the date of
filing through the Court's ECF System on:

       David M. Hollingsworth, on behalf of Rachel L. Bates, Debtor, at enonlaw@woh.rr.com
       Donald F. Harker, III, on behalf of the Chapter 7 Trustee's office at dharker7@donet.com
       Office of the United States Trustee, at ustpregion09.cb.ecf@usdoj.gov


And (ii) by ordinary U.S. Mail on August 13, 2018 addressed to:

       Rachel L. Bates, Debtor, 585 Queensgate Road, Springboro, OH 45066
       Stephen Taylor Bates, 7544 Wrenview Drive, Springfield, OH 45502
       Attn: Capital One Auto Finance, a division of Capital One, N.A. Department, AIS Portfolio
       Services, LP, Account XX8682, 4515 N. Santa Fe Ave. Dept. APS, Oklahoma City, OK
       73118


                                                  /s/ Christopher P. Kennedy
                                                  Carlisle, McNellie, Rini, Kramer & Ulrich
                                                  Co., L.P.A.
                                                  By: Phyllis A. Ulrich
                                                       Christopher P. Kennedy
